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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 FORCE MOS TECHNOLOGY, CO., LTD,                 )
                                                 )
                  Plaintiff,                     ) Civil Action No. 2:22-cv-00460-JRG
                                                 )
        v.                                       )
                                                 ) JURY TRIAL DEMAND
 ASUSTEK COMPUTER, INC.,                         )
                                                 )
                  Defendant.


 JOINT NOTICE REGARDING REDACTIONS TO SEALED ORDER (DKT. NO. 420)

       Plaintiff Force MOS Technology, Co., LTD and Defendant ASUSTeK Computer, Inc.

(together, the “Parties”) respectfully submit this joint notice to inform that Court that the Parties

met and conferred regarding Sealed Order (Dkt. No. 420) and the Parties do not believe any portion

of the Sealed Order requires redaction.

       As such, the Parties respectfully request this Court enter a publicly available version of the

Sealed Order without redaction.
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Dated: June 16, 2025                          Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(h), the Parties met and conferred on June 16, 2025, and

reached agreement on the foregoing.


                                                      /s/ Christopher E. Hanba
                                                      Christopher E. Hanba




                                 CERTIFICATE OF SERVICE

       I certify that on June 16, 2025, the foregoing document was filed via the Court’s CM/ECF

system which will send notification of such filing to all counsel of record.


                                                      /s/ Christopher E. Hanba
                                                      Christopher E. Hanba




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